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UNITED STATES DISTRICT COURT
for the

District of Massachusetts

United States of America
Vv.

Case No. 16-CR-10094-LTS

EDWARD PENNINGS

Defendant

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(J) The defendant must not violate any federal, state or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § 14135a.

(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before any
change in address or telephone number,

(4) The defendant must appear in court as required and must surrender to serve any sentence imposed

The defendant must appear at (if blank, to be notified)

Place

on

Date and Time

Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released on condition that:
( ¥ ) (5) The defendant promises to appear in court as required and surrender to serve any sentence imposed.
( ¥ ) (6) The defendant executes an unsecured bond binding the defendant to pay to the United States the sum of

Two million dollars (secured) dollars ($ _2,000,000.00
in the event of a failure to appear as required or surrender to serve any sentence imposed.

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ADDITIONAL CONDITIONS OF RELEASE

_ Upon finding that release by one of the above methods will not by itself reasonably assure the defendant’s appearance and the safety of other persons or the community,
IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
( ) (7) The defendant is placed in the custody of:

Person or organization

Address (only if above is an organization)
City and state

Tel. No. (only ifabove is an organization)
who agrees (a) to supervise the defendant in accordance with all of the conditions of release, (b) to use every effort to assure the defendant’s appearance at all scheduled court
proceedings, and (c) to notify the court immediately if the defendant violates any condition of release or disappears.

Signed: _

Custodian or Proxy Date
( ¥ ) (8) The defendant must:

(/¥ )(a) reporttothe PTS as directed
telephone number , no later than :
( )(b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of moncy or designated property:

( )(c) post with the court the following proof of ownership of the designated property, or the following amount or percentage of the above-described sum

( )(d) execute a bail bond with solvent sureties in the amount of $

( )(e) maintain or actively seek employment.

( )(£) maintain or commence an education program.

( )(g) surrender any passport to:

(¥ )(h) obtain no passport. GO )

(¥ )(i) abide by the following restrictions on personal association, place of abode, or travel: Travel restricted to the district of MA. ETidnd. Netherlands
Maintain residence. do not move without pretrial approval. Notify PTS reaardina ANY rearrest bv law enforcement within 24 hours.

(¥)() avoid all contact, directly or indirectly, with any person who is or may become a victim or potential witness in the investigation or

prosecution, including but not limited to: co-defendant Ross McLellan and others (list to be provided by US Attornev)

( )(k) undergo medical or psychiatric treatment:

( )() _ return to custody each (week) day at ____ 0’clock afier being released each (week) day at o’clock for employment,
schooling, or the following purpose(s):

)(m) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers necessary.
¥ )(n) refrain from possessing a firearm, destructive device, or other dangerous weapons.
)(o) refrainfrom ( )any (# ) excessive use of alcohol.

¥ )(p)__ refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 2] U.S.C. § 802, unless prescribed by a licensed medical

practitioner,

( )(q) submit to any testing required by the pretrial services office or the supervising officer to determine whether the defendant is using a prohibited substance. Any
testing may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency
and accuracy of any prohibited substance testing or monitoring which is (are) required as a condition of release.

( )(r) _ participate in a program of inpatient or outpatient substance abuse therapy and counseling if the pretrial services office or supervising officer considers it
advisable.

( )(s) _ participate in one of the following location monitoring program components and abide by its requirements as the pretrial services officer or supervising
officer instructs.

(/) (i) Curfew. You are restricted to your residence every day (/ ) from to ,or ( _ )as directed by the pretrial
services office or supervising officer; or

( ) (it) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities pre-approved by the pretrial services
office or supervising officer; or

() (iti) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for medical necessities and court appearances or other activities
specifically approved by the court.

( )(t) submit to the location monitoring indicated below and abide by all of the program requirements and instructions provided by the pretrial services officer or

supervising officer related to the proper operation of the technology.

(v) a defendant must pay all or part of the cost of the program based upon your ability to pay as the pretrial services office or supervising officer

etermines.

) () Location monitoring technology as directed by the pretrial services office or supervising officer;
) (il) Radio Frequency (RF) monitoring;

) (iii) Passive Global Positioning Satellite (GPS) monitoring;

) (iv) Active Global Positioning Satellite (GPS) monitoring (including “hybrid” (Active/Passive) GPS);
) (v) Voice Recognition monitoring.

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(“)(u) _Defendantis to apply for no further passport or travel document

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»AO199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both,

(4) amisdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

l acknowledge that I am the defendant in this case and that | am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

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Defendant's Signature

City and State

Directions to the United States Marshal

(¥ ) The defendant is ORDERED released after processing.

( The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still -in-eustody, the defendant must be produced before
the appropriate judge at the time and place specified. yy

Date: 8/15/2016

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